                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

IN THE MATTER OF:
                                                 Chapter 7
                                                 Case No. 24-41956-mar
BRANDON HEITMANN,                                Hon. Mark A. Randon

            Debtor(s).
_______________________________/


MOHAMED SAAD,

        Plaintiff,                               Adv. Pro. No. 24-04375-mar
                                                 Hon. Mark A. Randon
v.

BRANDON HEITMANN,

      Defendant.
_______________________________/


              RE-NOTICE OF TAKING DEPOSITION OF MOHAMED SAAD



To:     Mohamed Saad
        c/o OSIPOV BIGELMAN P.C.
        Jeffrey H. Bigelman, Esq.
        20700 Civic Center Drive, Suite 420
        Southfield, MI 48076


        PLEASE TAKE NOTICE that Counsel for Defendant, Brandon Heitmann, will take the
deposition of Mohamed Saad, on May 17, 2025 at 10:00 AM at the offices of OSIPOV
BIGELMAN P.C., 20700 Civic Center Drive, Suite 420, Southfield, MI 48076.




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       Deponent is to have personal knowledge to testify to all claims alleged in the Complaint

and all averments made in his pleadings in this matter.

       The deposition will be transcribed by a court reporter.

                                                    Respectfully Submitted,

                                                    KOTZ SANGSTER WYSOCKI P.C.

                                                    By: /s/ Tyler P. Phillips
                                                            Tyler P. Phillips (P78280)
                                                            Yousef M. Farraj (P79760)
                                                    Attorneys for Defendant Brandon Heitmann
                                                    400 Renaissance Ctr. Ste. 3400
 Dated: April 25, 2025                              Detroit, MI 48243
                                                    313-259-8633
                                                    tphillips@kotzsangster.com
                                                    yfarraj@kotzsangster.com




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        Plaintiff,                                   Adv. Pro. No. 24-04375-mar
                                                     Hon. Mark A. Randon
v.

BRANDON HEITMANN,

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_______________________________/

                                   Certificate of Service

        I hereby certify that on April 25, 2025, I, served a copy of the Re-Notice of Taking
Deposition of Mohamed Saad by filing the same with the Clerk of the Court using the ECF
system which will send notification of such filing to all parties registered on the ECF System
for this case, including:

        Robert N. Bassel bbassel@gmail.com, robertbassel@hotmail.com;ecfbassel@gmail.com
        Jeffrey H. Bigelman jhb_ecf@osbig.com, tc@osbig.com;mk@osbig.com
        Anthony James Miller am@osbig.com
        Yuliy Osipov yotc_ecf@yahoo.com, yo_ecf@osbig.com;tc_ecf@osbig.com

                                               Respectfully Submitted,
                                               KOTZ SANGSTER WYSOCKI P.C.

                                               By: /s/ Yousef M. Farraj
                                                    Yousef M. Farraj (P79760)
                                               Attorneys for Defendant Brandon Heitmann
                                               400 Renaissance Ctr. Ste. 3400
                                               Detroit, MI 48243
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